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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 22-CR-20114-KMW

  UNITED STATES OF AMERICA,
               Plaintiff,
  vs.
  CARLOS RAMON POLIT FAGGIONI,
               Defendant.
  _________________________________/
              DEFENDANT’S UNOPPOSED RENEWED MOTION
                   TO SET CONDITIONS OF RELEASE

        With consent of the government, Defendant Carlos Polit renews his motion
  for pretrial release and proposes that the Court set the following conditions:
        1.     A personal surety bond of $2.5 million with $100,000 (4% of the bond
  amount) deposited in the Court registry, co-signed by twelve family members who
  consent to a court order prohibiting them from encumbering certain Nebbia-
  compliant, real properties and retirement accounts specified in a spreadsheet already
  provided to the government with aggregate equity in the same amount of the bond;
  none of the signatories will object to the government filing lis pendens on the real
  properties, which will be released when the bond is discharged;
        2.     A personal surety bond of $11.5 million, co-signed by John Polit and
  Charles Polit (Defendant Polit’s two sons) who consent to a court order prohibiting
  them from encumbering certain specified real properties that the government alleges
  or suspects may be traceable to the offenses charged in the indictment; none of the
  signatories will object to the government filing lis pendens on the real properties,
  which will be released when the bond is discharged.


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        3.     The signatories have each executed a declaration affirming their name,
  date of birth, residence address, employment, citizenship status, and identified assets
  that, as a court-ordered condition of release, cannot be encumbered until the bond is
  discharged. All signatories have represented that a forfeiture in the amount of the
  bond(s) they are executing would cause significant financial hardship because the
  amount(s) represents nearly all of their wealth. (Undersigned has provided drafts of
  these declarations to the government and will submit executed copies to the Court,
  in camera, as the declarations contain sensitive personal information not suitable for
  public filing; redacted copies can be filed in the public record, as directed by the
  Court).
        4.     Defendant and Defendant’s wife to surrender all passports and travel
  documents to Pretrial Services and not obtain any travel documents during the
  pendency of the case;
        5.     Defendant and Defendant’s wife to execute extradition waivers prior to
  Defendant’s release;
        6.     Defendant agrees to report to Pretrial Services as directed;
        7.     Defendant will refrain from possessing a firearm, destructive device or
  other dangerous weapons and shall surrender any concealed weapons permit to the
  U.S. Probation Office;
        8.     Except for medical visits, court appearances, attorney visits, court
  ordered obligations, or other activities pre-approved by the Pretrial Services
  supervising officer, Defendant will be restricted to home detention at the residence
  of his daughter on Brickell Key (address to be provided in camera). Defendant will
  be monitored electronically by active GPS monitoring at all times.
        Undersigned has conferred with government counsel, who confirm that the
  government does not oppose pretrial release on the conditions outlined above.


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                                     Respectfully submitted,

                                     BLACK SREBNICK
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                                     /s/ Howard Srebnick
                                     HOWARD SREBNICK, ESQ.
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                                     Temporary Appearance for Defendant




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